               Case 20-10343-LSS               Doc 10038         Filed 07/07/22         Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                    Jointly Administered
                                      Debtors.
                                                                    Re: Docket No. 9955


                 CERTIFICATION OF NO OBJECTION REGARDING
           TWENTY-THIRD MONTHLY APPLICATION FOR COMPENSATION
         AND REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL
         & JONES LLP, AS COUNSEL TO THE TORT CLAIMANTS’ COMMITTEE
        FOR THE PERIOD FROM JANUARY 1, 2022 THROUGH JANUARY 31, 2022
                             (NO ORDER REQUIRED)

                  The undersigned hereby certifies that, as of the date hereof, no answer, objection

or other responsive pleading has been received to the Twenty-Third Monthly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as

Counsel to the Tort Claimants’ Committee for the Period from January 1, 2022 through January

31, 2022 (the “Application”) filed on June 22, 2022 [Docket No. 9955]. The undersigned further

certifies that the Court’s docket in this case has been reviewed and no answer, objection or other

responsive pleading to the Application appears thereon. Pursuant to the notice of Application,

objections to the Application were to be filed and served no later than July 6, 2022 at 4:00 p.m.

prevailing Eastern Time.

                  Pursuant to the Order (I) Approving Procedures for (A) Interim Compensation

and Reimbursement of Expenses of Retained Professionals and (B) Expense Reimbursement for

Official Committee Members and (II) Granting Related Relief [Docket No. 341] entered on


1  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 West Walnut Hill Lane, Irving, Texas 75038.


DOCS_DE:239764.1 85353/002
               Case 20-10343-LSS      Doc 10038      Filed 07/07/22     Page 2 of 2




April 6, 2020, the Debtors are authorized to pay Pachulski Stang Ziehl & Jones LLP

$2,662,434.20 which represents 80% of the fees ($3,328,042.75) and $135,647.33, which

represents 100% of the expenses requested in the Application, for the period from January 1,

2022 through January 31, 2022, upon the filing of this Certification and without the need for

entry of a Court order approving the Application.

Dated: July 7, 2022                          PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/ James E. O’Neill
                                             Richard M. Pachulski (CA Bar No. 90073)
                                             Alan J. Kornfeld (CA Bar No. 130063)
                                             Debra I. Grassgreen (CA 169978)
                                             Iain A.W. Nasatir (CA Bar No. 148977)
                                             James E. O’Neill (DE Bar No. 4042)
                                             919 North Market Street, 17th Floor
                                             P.O. Box 8705
                                             Wilmington, DE 19899-8705 (Courier 19801)
                                             Telephone: (302) 652-4100
                                             Facsimile: (302) 652-4400
                                             Email: rpachulski@pszjlaw.com
                                                     akornfeld@pszjlaw.com
                                                     dgrassgreen@pszjlaw.com
                                                     inasatir@pszjlaw.com
                                                     joneill@pszjlaw.com

                                             Counsel for the Tort Claimants’ Committee




DOCS_DE:239764.1 85353/002                      2
